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IN THE UNITED sTATEs DisTRICT CoURT 05 J l ' ‘
FoR THE wEsTERN DIsTRICT 01= TENNESSEE U'- ' 8 PH h= h 7
EASTERN DIVIsIoN W_»,.
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CHARLEs oWEN, ) *""'1 “
)
Plaintiff, )
)
v ) NO. 1;05 Cv 01099 T
)
ADM MILLING CoMPANY, )
)
Defendant. )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following

dates are established as the final dates for:

INITIAL DISCLOSURES (RULE 26(3)(1)):

The parties Will exchange initial disclosures by August 12, 2005.

]OINING PARTIES:
For Plaintiff: By September 29, 2005
For Defendant: By October 29, 2005
AMENDING PLEADINGS:

For Plaintiff: By September 29, 2005
For Defendant: By October 29, 2005

This document entered on the docket sheet in compliance

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with Rule 58 and,'or,79 (a} FRCP on ___O_l_’£>.?Q_O\_D_ j/ 5
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COMPLETING AI.L DISCOVERY: By March 29, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
and REQUESTS FOR ADMISSIONS: To be propounded

no later
than February 25,
2006
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff's Experts: By Decernber 29,
2005
(ii) Defendant's E)<perts: By ]anuary 30, 2006
(iii) Supplernentation under Rule 26(e): By February 10,
2006
(c) DEPOSITIONS OF EXPERTS: By March 29, 2006
FILING OF DISPOSITIVE MOTIONS: By April 28, 2006

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(3)(3)):

(a) for Plaintiff: 45 days before trial (]une 16, 2006)
(b) for Defendant: 30 days before trial (]une 30, 2006)

Parties shall have 10 days after service of final lists of witnesses and
exhibits to file objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days and is SET for
]'URY TRIAL on |uly 31l 2006 at 9:30 A.M. A joint pretrial order is due on

july 24¢ 2006 . In the event the parties are unable to agree on a joint
pretrial order, the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions
must be submitted to the opposing party in sufficient time for the opposing party
to respond by the deadline for completion of discovery. For examp`l§§ ifthe

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FRCP allow 30 days for a party to respond, then the discovery must be submitted
at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery
deadline or Within 30 days of the default or service of the response, answer, or
objection Which is the subject of the motion if the default occurs Within 30 days of
the discovery deadline, unless the time for filing of such motion is extended for
good cause shown, or any objection to the default, response, or answer shall be
Waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)
(B), all motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be
accompanied by a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter.
Neither party may file an additional reply, however, without leave of the court.
lf a party believes that a reply is necessary, it shall file a motion for leave to file a
reply accompanied by a memorandum setting forth the reasons for Which a reply
is required

The parties may consent to trial before the Magistrate ]udge. The
Magistrate ]udge can normally provide the parties with a definite trial date that
will not be continued unless a continuance is agreed to by all parties, or an
emergency arises Which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation
or private mediation on or before the close of discoveg;_.

This order has been entered after consultation With trial counsel pursuant
to notice. Absent good cause shown, the scheduling dates set by this Order Will
not be modified or extended

IT IS SO ORDERED.

estrada

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE

]UDGE

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4 `-Agreed

GILBERT & RUSSELL, PLC

W?'M

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ATTORNEYS FOR PLAINTIFF

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01099 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

